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                          UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                MCALLEN DIVISION


UNITED STATES OF AMERICA                       §
                                               §
v.                                             §            No. 7:20-CR-00240-7
                                               §
EDGAR YVAN MORENO BARRAGAN                     §

                                    NOTICE OF APPEAL

TO THE HONORABLE JUDGE OF THE COURT:

       Defendant, EDGAR YVAN MORENO BARRAGAN, hereby files Notice of Appeal to the

United States Court of Appeals for the Fifth Circuit from the United States District Court for the

Southern District of Texas, McAllen Division, appealing this court’s judgment imposed on May

13, 2022.

       May 17, 2022

                                             Respectfully submitted,

                                             /s/ Susan J. Clouthier__________
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                                             Counsel for Defendant
                                             Edgar Yvan Moreno Barragan
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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 17, 2022, a true and correct copy of the foregoing Notice of

Appeal was filed electronically which will give notice of the filing to Counsel for U.S. Attorney’s

Office, Patricia Cook Profit, pat.profit@usdoj.gov.


                                             /s/ Susan J. Clouthier__________
                                             Susan J. Clouthier




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